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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                             No. 18-cr-0032-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                   Defendant.


                                               ORDER

       For the reasons given at the hearing of March 2, 2020, it is

       ORDERED that Concord shall, if it has not already done so, comply with the

government’s two outstanding trial subpoenas. It is further

       ORDERED that Concord’s counsel shall certify, on or before 5 p.m. on March 4, 2020,

to the Court that it has conveyed a translated version of this order to its client, Concord

Management and Consulting, LLC. It is further

       ORDERED that, on or before 5 p.m. on March 4, 2020, counsel shall file with the Court

a sworn affidavit from a corporate representative that explains in detail the steps Concord has

taken to comply with the trial subpoenas and this order. It is further

       ORDERED that this affidavit shall

       (a) include the Concord representative’s name, position, and duties, and explain how the

              representative is familiar with Concord’s recordkeeping practices and its efforts to

              comply with the trial subpoenas and this order;

       (b) identify Concord’s custodian(s) of records and all other individual(s) responsible for

              maintaining records;
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      (c) identify and explain Concord’s systems for maintaining paper records and

          electronically stored data and information, including any back-up systems;

      (d) describe each search Concord conducted to respond to the trial subpoenas, including

          searches of electronic back-up systems, specifying the individual(s) responsible for

          each search and the search terms used for each electronic search;

      (e) describe, with specificity, all efforts Concord took to ensure that a full and adequate

          search was completed for each records system; and

      (f) provide reasons why Concord has produced no documents in response to subpoena

          categories three, four, five, and six.



                                                            ________________________
                                                            DABNEY L. FRIEDRICH
March 2, 2020                                               United States District Judge




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